              Case 2:24-cr-20479-LJM-DRG ECF AUSA:
                                             No. 1, PageID.1
                                                     Andrew PicekFiled 08/21/24   Page 1(313)
                                                                              Telephone:  of 9226-9652
AO 91 (Rev. ) Criminal Complaint            Special Agent:           Sami Rasmussen               Telephone: (313) 773-1529

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of Michigan

United States of America
   v.
Victor LINDSEY                                                                             Case: 2:24−mj−30357
                                                                           Case No.        Assigned To : Unassigned
                                                                                           Assign. Date : 8/21/2024
                                                                                           Description: COMP USA V.
                                                                                           LINDSEY (KB)




                                                   CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of                 August 20, 2024             in the county of               Wayne       in the
         Eastern         District of       Michigan         , the defendant(s) violated:
                   Code Section                          Offense Description
18 U.S.C. § 922(g)(1)                                    Felon in possession of a Firearm




           This criminal complaint is based on these facts:
See attached Affidavit




        Continued on the attached sheet.
                                                                                           Complainant’s signature

                                                                                   Sami Rasmussen, Special Agent ATF
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:      August 21, 2024                                                                   Judge’s signature

City and state: Detroit, MI                                                   Hon. Anthony P. Patti, U.S. Magistrate Judge
                                                                                            Printed name and title
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

          AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

     1.     I, Samantha Brockmiller-Rasmussen, being first duly sworn,

hereby state:

                           INTRODUCTION

     2.     I am an “investigative or law enforcement officer of the United

States” within the meaning of Section 2510(7) of Title 18, United States

Code, that is, an officer of the United States who is empowered by law to

conduct investigations of, and to make arrests for, offenses enumerated

in Section 2516, Title 18, United States Code. I have been employed by

the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), United

States Department of Justice, as a Special Agent since December of 2023.

I completed the Federal Law Enforcement Training Center Criminal

Investigator Training Program and the ATF Special Agent Basic

Training Program in Glynco, Georgia.

     3.     Prior to becoming a Special Agent with ATF, I was an

Intelligence Analyst with the Oakland County Sheriff’s Office for

approximately one year. I obtained a Master of Science degree in
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Criminology and a Bachelor of Science degree majoring in Criminology

and Criminal Justice and Psychology from Florida State University.

     4.    I am a Special Agent in Group IV, which is responsible for

conducting investigations related to violent crime and/or gangs. During

my employment, I, and Agents assigned to this investigation, have

conducted and/or participated in numerous criminal investigations

involving the illegal possession, use, and sale of firearms, drug trafficking

violations, fraud, and criminal street gangs.

     5.    This affidavit is made in support of an application for a

criminal complaint for Victor LINDSEY.

     6.    I have probable cause to believe that LINDSEY, who knew he

was a convicted felon, knowingly possessed a firearm, which traveled in

interstate commerce, in violation of 18 U.S.C. § 922(g)(1).

     7.    I make this affidavit based on my participation in this

investigation, interviews conducted by myself and other law enforcement

agents, reports from other law enforcement agents, communications with

others who have personal knowledge of the events and circumstances

described herein, and information gained through my training and

experience.
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     8.     The information in this affidavit is for the limited purpose of

establishing probable cause and does not contain all details or all facts

relating to this investigation.

                          PROBABLE CAUSE

     9.     On August 19, 2024, I obtained a federal search warrant for a

residence located in Detroit, Michigan. On August 20, 2024, the ATF

Special Response Team (“SRT”) with assistance from ATF agents,

Department of Labor – Office of Inspector General (“DOL-OIG”), and the

Detroit Police Department (“DPD”), executed the warrant. LINDSEY

was detained in the backyard driveway. Two other individuals were

encountered in the living room.

     10.    After the residence was secured, a systematic search was

conducted, and the following items were recovered from the basement

bedroom:

          a. One Ruger, model 5.7, 5.7 caliber pistol containing sixteen

            rounds of ammunition in the magazine and one additional

            round in the chamber.

          b. One Glock, 9mm pistol with a black and gold Zev slide, loaded

            with an extended magazine.
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      c. One American Tactical, Model GSG-16, .22LR HV caliber rifle

         with the safety disengaged with one round of ammunition in

         the    chamber     and   a   magazine      containing    assorted

         ammunition.

      d. Two boxes of assorted ammunition recovered in the basement

         ceiling.

      e. One Canik, Model SFX Rival, 9mm pistol affixed with a light

         attachment and containing fourteen rounds of ammunition

         and one additional round in the chamber.

      f. One black Canik firearms box containing four firearm

         magazines.

      g. Assorted ammunition.

      h. One black nylon bag containing assorted ammunition and

         numerous magazines.

      i. Approximately four thousand dollars located near LINDSEY’s

         identification card.

      j. A wallet with identification in the name of Victor LINDSEY.

      k. Automobile paperwork and bank documents in the name of

         Victor LINDSEY.
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       l. Additionally,    in   the   garage,    agents    recovered    one

           Kalashnikov, Model K12, 12-gauge shotgun containing nine

           rounds of 12-gauge ammunition.

       m. The below image depicts some of the above-described evidence

           recovered in the basement bedroom.




     11.   Based upon my review of the personal property in the

basement bedroom, it appeared the bedroom belonged to LINDSEY.

     12.   On or about August 18, 2024, I completed a review of

surveillance footage between approximately August 13, 2024, and
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August 20, 2024, at the residence. I observed LINDSEY enter and exit

the residence multiple times using the side door that opens to the

driveway of the residence. In addition, agents observed LINDSEY

entering the residence utilizing a key to unlock the door.

     13.   I reviewed LINDSEY’s computerized criminal history and

court records which revealed the following felony convictions.

        a. On or about December 13, 2006, LINDSEY was convicted in

           the Third Circuit Court Criminal Division, Wayne County,

           Michigan of Controlled Substance-Delivery/Manufacture-

           Ecstasy/MDMA, Controlled Substance-

           Delivery/Manufacture-Marijuana, Felon in Possession of a

           Firearm, and Felony-Firearm.

     14.   On August 20, 2024, S/A Mary Behler, S/A Colon, and I

conducted a recorded interview with LINDSEY. Agents advised

LINDSEY of his Miranda Rights to which he acknowledged and agreed

to speak with agents without an attorney present. During the

interview, LINDSEY stated his fiancé “put him out” and therefore

LINDSEY brought his items, including clothing and documents, and

placed them in the basement the evening prior. LINDSEY denied
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possession of the firearms. Additionally, LINDSEY acknowledged his

previous felony conviction and being prohibited from possessing

firearm.

     15.   On August 20, 2024, I contacted Special Agent Michael

Jacobs, an ATF Interstate Nexus Expert, and provided him a

description of the firearms recovered from the basement. Based upon

the description, Special Agent Jacobs advised that the firearms are

firearms as defined under 18 U.S.C. § 921. He also advised that the

firearms were manufactured outside of the state of Michigan after 1898

and therefore had traveled in and affected interstate commerce.

                            CONCLUSION

     16.   Probable cause exists that Victor LINDSEY, knowing that he

was a prior convicted felon, knowingly possessed the above-described

firearms, which have previously traveled in foreign or interstate

commerce. Therefore, probable cause exists that Victor LINDSEY

committed violations of 18 U.S.C. § 922(g)(1), within the Eastern District

of Michigan.
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                                  Respectfully submitted,




                                  Samantha Brockmiller-Rasmussen
                                  Special Agent
                                  Bureau of Alcohol, Tobacco, Firearms
                                  and Explosives


Sworn to before me and signed in my
presence and/or by reliable electronic means.


_________________________________________
HON. ANTHONY P. PATTI
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF MICHIGAN
Date: August 21, 2024
